                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                      AT NASHVILLE

JOSHUA GARTON,                                   )
                                                 )
        Plaintiff,                               )
                                                 )
v.                                               )     Case No. 3:21-cv-00338
                                                 )     Judge Aleta A. Trauger
W. RAY CROUCH, et al.,                           )
                                                 )
        Defendants.                              )


                          PROTECTIVE ORDER REGARDING
                     TENNESSEE BUREAU OF INVESTIGATION FILES


         It appearing to the Court that Defendants Joseph Craig and Andrew Vallee have shown that

good cause exists for the entry of a protective order regarding Tennessee Bureau of Investigation

(TBI) Case File NA-98F-000016, as the information is confidential pursuant to Tenn. Code Ann. §

10-7-504(a)(2)(A). Due to the confidential nature of the information and documentation requested,

which will be exchanged between the parties through discovery and the pendency of this lawsuit, a

protective order is proper.

        This Protective Order shall immediately take effect upon the Court’s signing the same. It is

therefore ORDERED as follows:

            1. Counsel for Defendants Craig and Vallee are hereby authorized to produce a copy of

                TBI Case File NA-98F-000016 to the parties in this lawsuit.

            2. Any information, records, or documentation consisting of law enforcement records,

                including but not limited to TBI Case File NA-98F-000016 pertaining to

                investigations of the named Plaintiff, are designated by the parties for the purposes of

                discovery as confidential (“Confidential Information”).

            3. The scope of the Confidential Information does not cover any records which are

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         considered public under Tenn. Code Ann. § 10-7-503 and -504.

      4. Any Confidential Information exchanged between the parties may only be provided,

         shared or discussed with the parties, counsel for the parties, employees,

         administrative staff, other staff members of the parties with a need to know, and

         witnesses, potential witnesses, experts, agents or entities that the parties, or counsel

         for the parties, may choose to contact for the purposes of this lawsuit, or any other

         consultant contacted for purposes of this lawsuit or any fact or allegation set forth in

         this lawsuit.

      5. The contents of this Protective Order shall not affect the admissibility or use of any

         Confidential Information that the parties deem necessary for any deposition, hearing,

         or trial in this lawsuit. If a party files documents constituting Confidential

         Information with the Court, the party shall seek leave to file such documents under

         seal, subject to the approval of the Court in conformity with Local Rule 5.03 and

         based on applicable legal standards for sealing documents from public view. Further,

         and notwithstanding the foregoing provisions, this Protective Order shall be without

         prejudice to the right of any party to challenge the propriety of discovery on any

         grounds including, but not limited to, relevance, privilege, and materiality.

      6. The parties’ designation of Confidential Information is not binding on the Court for

         any purpose, including the determination of whether to seal or otherwise restrict

         public access to the information.


   It is so ORDERED.


                                         __________________________________
                                         ALETA A. TRAUGER
                                         U.S. District Judge


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APPROVED FOR ENTRY:

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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies on April 19, 2022, a true and accurate copy of the
foregoing Proposed Protective Order was filed electronically and sent by way of the Court’s
electronic filing system to:

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